Case 2:O4-cr-20256-.]P|\/| Document 162 Filed 07/12/05 Page 1 of 6 Page|D 221

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.v- 2:04cR20256-03-Ml WMGF§;r_`)»*T?§ll-;Elgmr

LATRUNTA Y. HOUSTON
John Priest Pritchardl Retained
Defense Attorney
243 Exchange Avenue
Memphis, TN 38103

 

JUDGMENT IN A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on March 21, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section NM._MO_H€QY offense Number(s)
Concluded
18 U.S.C. § 371 Conspiracy to Commit Bank Fraud 02/28/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 5 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/30/1973 July 8, 2005
Deft’s U.S. Marsha| No.: 19777-076

Defendant’s Mai|ing Address:
3201 Thomas, # 6
Memphis, TN 38127

“Q&Q
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ON PH|PPS McCALLA
UNl ED ATES DlSTR|CT JUDGE
Ju|y §§ , 2005

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Case 2:O4-cr-20256-.]Pi\/| Document 162 Filed 07/12/05 Page 2 of 6 PagelD 222

Case No: 2:04cr20256-03-N|| Defendant Name: Latrunta Y. HOUSTON Page 2 of 5

PROBAT|ON

The defendant is hereby placed on probation for a term of 5 Years.

While on probation, the defendant shall not commit another federai, state, or local
crime and shall not illegally possess a firearml ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substanoe. The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDIT|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

B. The defendantshall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:O4-cr-20256-.]Pi\/| Document 162 Filed 07/12/05 Page 3 of 6 PagelD 223

Case No: 2:04cr20256-03-Mi Defendant Name: Latrunta Y. HOUSTON Page 3 of 5

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notihcations and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such Hne or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment.

ADD|TIONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

The defendant shall cooperate with DNA collection as directed by the Probation Officer.
The defendant shall seek and maintain full-time employment

The defendant shall provide full financial disclosure.

The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchase with prior approval of the Probation
Officer.

.‘-”:"`*F»°!\’

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00 $26,000.00

The Specia| Assessment shall be due immediately.

Case 2:O4-cr-20256-.]Pi\/| Document 162 Filed 07/12/05 Page 4 of 6 PagelD 224

Case No: 2:04cr20256-03-Ml Defendant Name: Latrunta Y. HOUSTON Page 4 of 5

F|NE
No fine imposed.

REST|TUT|ON

Restitutiori in the amount of $26,000.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Totai Amount Amount of Order
Name of panee of Loss Restitution Ordered or
Percentage

of Payment

Nationai Bank of Commerce $26,000.00 $26,000.00
cio Larry H. Montgomeiy, Esq.

G|ankler, Brown, PLLC

One Commerce Square

Suite 1700

Memphis, TN 38103

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

Case 2:O4-cr-20256-.]Pi\/| Document 162 Filed 07/12/05 Page 5 of 6 PagelD 225

Case No: 2:04cr20256-03-M| Defendant Name: Latrunta V. HOUSTON Page 5 of 5

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. Additional|y, the interest requirement is waived.

Un|ess the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Ail criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court, unless otheniiiise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED `SATES DISTRICT COURT - WTERN DSTRICT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 162 in
ease 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

 

Johnny Pritehard
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i\/lemphis7 TN 38105

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on MeCalla
US DISTRICT COURT

